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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,               )
                                          )
                       Plaintiff,         )
                                          )              8:02CR114
               vs.                        )
                                          )               ORDER
  DALENO A. HAYES,                        )
                                          )
                       Defendant.         )

        Defendant Daleno A. Hayes appeared before the court on Monday,
  September 20, 2010 on a Petition for Warrant or Summons for Offender Under
  Supervision [119]. The defendant was represented by CJA Panel Attorney
  Bryan C. Meismer and the United States was represented by Assistant U.S.
  Attorney Michael P. Norris. The government did not request detention.       The
  Defendant was not entitled to a preliminary examination.
        I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Judge Smith Camp.
        IT IS ORDERED:
        1.     A final dispositional hearing will be held before Judge Laurie Smith
  Camp in Courtroom No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South
  18th Plaza, Omaha, Nebraska, on October 25, 2010 at 1:30 p.m . Defendant must
  be present in person.
        2.     The defendant is released on current conditions of supervision.
        DATED this 20th day of September, 2010.

                                                 BY THE COURT:

                                                 s/ F. A. Gossett
                                                 United States Magistrate Judge
